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                               EXHIBIT 72




                                                                  Appx. 01859
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                                                                                                               FILED
                                                                                                    1/20/2023 4:29 PM
                                                                                                        FELICIA PITRE
                                                                                                     DISTRICT CLERK
                                                                                                   DALLAS CO., TEXAS
                                                                                               Stephanie Clark DEPUTY
                                                   DC-23-01 004
                                   CAUSE NO.

     IN RE:                                           §              IN THE DISTRICT COURT
                                                      §        191 st
     HUNTER MOUNTAIN                                  §
     INVESTMENT TRUST                                 §                 th JUDICIAL     DISTRICT
                                                      §
              Petitioner,                             §
                                                      §              DALLAS COUNTY, TEXAS

                  PETITIONER HUNTER MOUNTAIN INVESTMENT TRUST’S
                              VERIFIED RULE 202 PETITION

    TO THE HONORABLE JUDGE OF SAID COURT:

           Petitioner, Hunter Mountain Investment Trust (”I-ﬂVIIT”), files this Verified

    Petition (”Petition”) pursuant to Rule 202 of the Texas Rules of Civil Procedure, seeking


    pre-suit discovery from Respondent Farallon Capital Management, LLC (”Farallon”) and

    Respondent       Stonehill     Capital     Management,     LLC      (”Stonehill”)   (collectively

    ”Respondents”), to allow I-HVIIT to investigate potential claims against Respondents and

    other potentially adverse entities, and would respectfully show:

                                                 PARTIES

           1.       HMIT is   a   Delaware statutory trust that was the largest equity holder in

    Highland Capital Management, L.P. (”HCM”), holding a 99.5% limited partnership

    interest.   HCM filed chapter    11   bankruptcy proceedings in 2019 and, as a result of these




                                                                                          Appx. 01860
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    proceedings} HMIT held a Class 10 claim which, post-confirmation, was converted to a

    Contingent Trust Interest in HCM’s post-reorganization sole limited partner.

            2.      Farallon is a Delaware limited liability company with its principal office in

    California, which is located at One Maritime Plaza, Suite 2100, San Francisco, CA 94111.

            3.      Stonehill is a Delaware limited liability company with its principal office in

    New York, which is located at 320 Park Avenue, 26th Floor, New York, NY 10022.

                                      VENUE AND JURISDICTION

            4.      Venue is proper in Dallas County, Texas, because all or substantially all of

    the events or omissions giving rise to HMIT’s potential common law claims occurred in

    Dallas County, Texas. In the event HMIT elects to proceed with a lawsuit against Farallon

    and Stonehill, venue of such proceedings will be proper in Dallas County, Texas.

            5.      This Court has jurisdiction over the subject matter of this Petition pursuant

    to Texas Rule of Civil Procedure 202.2 The amount in controversy of any potential claims


    against Farallon or Stonehill far exceeds this Court’s minimum jurisdictional

    requirements. Without limitation, HMIT specifically seeks to investigate potentially

    actionable claims for unjust enrichment, imposition of a constructive trust with




    1
      These proceedings were initially filed in Delaware but were ultimately transferred to and with venue in
    the U.S. Bankruptcy Court for the Northern District of Texas.
    2
      The discovery relief requested in this Petition does not implicate the HCM bankruptcy court’s jurisdiction.
    Furthermore, this Rule 202 Petition is not subject to removal because there is no amount in actual
    controversy and there is no cause of action currently asserted.




                                                                                                    Appx. 01861
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    disgorgement, knowing participation in breaches of fiduciary duty, and tortious

    interference with business expectancies.

           6.    This Court has personal jurisdiction over the Respondents from which

    discovery is sought because both Farallon and Stonehill are doing business in Texas

    under Texas law including, without limitation, TEX. CIV. PRAC. 8: REM. CODE §17.042.

    Consistent with due process, Respondents have established minimum contacts with

    Texas, and the assertion of personal jurisdiction over Respondents complies with

    traditional notions of fair play and substantial justice. HMIT’s potential claims against

    Respondents arise from and/or relate to Farallon’s and Stonehill’s contacts in Texas.

    Respondents also purposefully availed themselves of the privilege of conducting

    business activities within Texas, thus invoking the benefits and protections of Texas law.

                                          SUMMARY

           7.    HMIT seeks to investigate potential claims relating to the sale and transfer

    of large, unsecured creditors’ claims in HCM’s bankruptcy to special purpose entities

    affiliated with and/or controlled by Farallon and Stonehill (the ”Claims”). Upon

    information and belief, Farallon and Stonehill historically had and benefited from close


    relationships with James Seery (”Seery”), who was serving as HCM’s Chief Executive

    Officer (”CEO”) and Chief Restructuring Officer (”CRO”) at the time of the Claims

    purchases. Furthermore, still upon information and belief, because Farallon and Stonehill

    acquired or controlled the acquisition of the Claims under highly questionable




                                                                                   Appx. 01862
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    circumstances. HMIT seeks to investigate whether Respondents received material non-


    public information and were involved in insider trading in connection with the

    acquisition of the Claims.

           8.      The pre-suit discovery which HMIT seeks is directly relevant to potential

    claims, and it is clearly appropriate under Rule 202.1(b). HMIT anticipates the institution

    of a future lawsuit in which it may be a party due to its status as a stakeholder as former


    equity in HCM or in its current capacity as a Contingent Trust Interest holder, as well as

    under applicable statutory and common law principles relating to the rights of trust

    beneficiaries. In this context, HMIT may seek damages on behalf of itself or, alternatively,

    in a derivative capacity and without limitation, for damages or disgorgement of monies

    for the benefit of the bankruptcy estate.

           9.      HMIT currently anticipates     a potential   lawsuit against Farallon and

    Stonehill as defendants and, as such, Farallon and Stonehill have adverse interests to

    HMIT in connection with the anticipated lawsuit. The addresses and telephone numbers

    are as follows: Farallon   Capital Management LLC, One Maritime Plaza, Suite 2100, San

    Francisco,   CA 94111, Telephone: 415-421-2132; Stonehill Capital Management, LLC, 320

    Park Avenue, 26th Floor, New York, NY 10022, 212-739-7474 . Additionally, the following

    parties also may be parties with adverse interests in any potential lawsuit: Muck

    Holdings LLC, c/o Crowell & Moring LLP, Attn: Paul       B. Haskel, 590 Madison Avenue,


    New York, NY 10022, 212-530-1823; Jessup Holdings LLC, c/o Mandel, Katz and Brosnan




                                                                                     Appx. 01863
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    LLP, Attn: John I. Mandler,       100 Dutch    Hill Road, Suite 390, Orangeburg, NY 10962, 845-

    6339-7800.

                                              BACKGROUND3

    A.      Procedural Background

            10.     On or about October 16, 2019, HCM filed a voluntary petition for relief

    under chapter 11 of the Bankruptcy Code in Delaware Bankruptcy Court, which was later

    transferred to the Northern District of Texas Bankruptcy Court, Dallas Division, on

    December 4, 2019.

            11.     On October 29, 2019, the U.S. Trustee’s office appointed a four-member

    Unsecured Creditors Committee (”UCC”) consisting of three judgment creditors—the

    Redeemer Committee, which is a committee of investors in an HCM-affiliated fund

    known as the Crusader Fund that obtained an arbitration award against HCM in the

    hundreds of millions of dollars; Acis Capital Management,                     LP.    and Acis Capital


    Management GP LLC (collectively ”Acis”); and UBS Securities LLC and UBS AG London

    Branch (collectively ”UBS”) - and an unpaid vendor, Meta-E Discovery.

            12.     Following the venue transfer to Texas on December 27, 2019, HCM filed its

    Motion of the Debtor for Approval of Settlement with the Oﬁ‘icial Committee of Unsecured

    Creditors Regarding Governance of the Debtor and Procedures for Operations in the Ordinary



    3All footnote references to evidence involve documents filed in the HCM bankruptcy proceedings and are
    cited by “Dkt.” reference. HMIT asks the Court to take judicial notice of the documents identified by these
    docket entries.




                                                                                                  Appx. 01864
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    Course   (”HCM’s Governance Motion”).4 On January            9, 2020, the Court signed an order


    approving HCM’s Settlement Motion (the ”Governance Order”).5

             13.   As part of the Governance Order,          an independent board of directors—


    Which included Seery as one of the UCC’s selections—was appointed to the Board of

    Directors (the ”Board”) of Strand Advisors, Inc., (”Strand Advisors”) HCM’s general

    partner. Following the approval of the Governance Order, the Board then appointed

    Seery as HCM’s Chief Executive Officer (”CEO”) and Chief Restructuring Officer

    (”CRO”) in place of the previous CEO.6 Seery currently serves        as Trustee of the Claimant


    Trust (HCM’s sole post-reorganization limited partner) and, upon information and belief,

    continues to serve as CEO of HCM following the effective date of the HCM bankruptcy


    reorganization plan (”Plan”).7

    B.       Seery’s Relationships with Stonehill and Parallon

             14.   Farallon and Stonehill are two capital management firms (similar to HCM)

    that, upon information belief, have long-standing relationships with Seery. Upon

    information and belief, they eventually participated in, directed and/or controlled the


    acquisition of hundreds of millions of dollars of unsecured Claims in HCM’s bankruptcy

    on behalf of funds which they manage. It appears they did so without any meaningful




    4
      Dkt. 281.
    5
      Dkt. 339.
    6 Dkt.
           854, Order Approving Retention of Seery as CEO/CRO.
    7 See Dkt.
               1943, Order Approving Plan, p. 34.




                                                                                         Appx. 01865
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    due diligence, much less reasonable due diligence, and ostensibly based their investment

    decisions only on Seery’s input.

           15.     Upon information and belief, Seery historically has had a substantial

    business relationship with Farallon and he previously served as legal counsel to Farallon

    in other matters. Upon information and belief, Seery also has had a long-standing

    relationship with Stonehill. GCM Grosvenor, a global asset management firm, held four

    seats on the Redeemer Committees (an original member of the Unsecured Creditors

    Committee in HCM’s bankruptcy). Upon information and belief, GCM Grosvenor is a


    significant investor in Stonehill and Farallon. Grosvenor, through Redeemer, also played

    a large part in   appointing Seery as a director of Strand Advisors and approved his

    appointment as HCM’s CEO and CRO.

    C.     Claims Trading

           16.     Imbued with his powers as CEO and CRO, Seery negotiated and obtained


    bankruptcy court approval of settlements with Redeemer, Acis, UBS, and another major

    creditor, HarbourVest9 (the ”Settlements”) (Redeemer, Acis, UBS, and HarbourVest are

    collectively the ”Settling Parties”), resulting in the following allowed claimsﬂ“




    8 Declaration of John A. Morris [Dkt. 1090], Ex. 1, pp. 15.
    9
      ”HarbourVest” collectively refers to HarbourVest 2017 Global Fund L.P., HarbourVest 2017 Global AIF
    L.P., HarbourVest Dover Street IX Investment L.P., HV International VIII Secondary L.P., HarbourVest
    Skew Base AIF L.P., and HarbourVest Partners L.P.
    1° Orders
              Approving Settlements [Dkt. 1273, Dkt. 1302, Dkt. 1788, Dkt. 2389].




                                                                                             Appx. 01866
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                          Creditor                  Class 8   Class 9
                          Redeemer                  $137 mm   $0 mm
                          Acis                      $23 mm    $0 mm
                          HarbourVest               $45 mm    $35 mm
                          UBS                       $65 mm    $60 mm


            17.     Although these Settlements were achieved after years of hard-fought

    litigation,“ each of the Settling Parties curiously sold their claims to Farallon or Stonehill

    (or affiliated special purpose entities) shortly after they obtained court approval of their

    Settlements. One of these ”trades” occurred within just a few weeks before the Plan’s

    Effective Date.” Upon information and belief, Farallon and Stonehill coordinated and

    controlled the purchase of these Claims through special purpose entities, Muck Holdings,

    LLC (”Muck”) and Jessup Holdings, LLC ("Jessup”) (collectively ”SPEs”).13 Upon

    information and belief, both of these SPEs were created on the eve of the Claims


    purchases for the ostensible purpose of taking and holding title to the Claims.

            18.     Upon information and belief, Farallon and Stonehill directed and controlled

    the investment of over $160 million dollars to acquire the Claims in the absence of any


    publicly available information that could rationally justify this substantial investment.

    These “trades” are even more surprising because, at the time of the confirmation of

    HCM’s Plan, the Plan provided only pessimistic estimates that these Claims would ever

    receive full satisfaction:



    11
       Order Confirming Plan, pp. 9-11.
    12
       Dkt. 2697, 2698.
    13 See Notice of Removal
                             [Dkt 2696],   ‘jI 4.




                                                                                       Appx. 01867
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                    a.   HCM’s Disclosure Statement projected payment of 71.32% of
                         Class   8   claims, and 0% of claims in Classes 9-11;14

                         i. This meant that Farallon and Stonehill invested more than
                            $163  million in Claims when the publicly available
                            information indicated they would receive $0 in return on their
                            investment as Class 9 creditors and substantially less than
                            par on their Class 8 Claims.

                    b. In HCM’s Q3 2021 Post-Confirmation Report, HCM reported that
                       the amount of Class 8 claims expected to be paid dropped even
                         further from 71% t0 54% (down approximately $328.3 million);15

                    c.   From October 2019, when the original Chapter 11 Petition was
                         filed, to January 2021, just before the Plan was confirmed, the
                         valuation of HCM’s assets dropped over $200 million from $566
                         million to $328.3 million;16

                    d. Despite the stark decline in the valuation of the HCM bankruptcy
                       estate and reduction in percentage of Class 8 Claims expected to
                         be satisfied, Stonehill, through Iessup, and Farallon, through
                         Muck, nevertheless purchased the four largest bankruptcy claims
                         from the Redeemer Committee/Crusader Fund, Acis,
                         HarbourVest, and UBS (collectively the “Claims”) in April and
                         August of 202117 in the combined amount of approximately $163
                         million; and

                    e.   Upon information and belief:

                         i. Stonehill, through an SPE, Jessup, acquired the Redeemer
                            Committee’s claim for approximately $78 million;18




    14
       Dkt. 1875-1, Plan Supplement, Exh. A, p. 4.
    15 Dkt. 2949.
    16
       Dkt 1473, Disclosure Statement, p. 18.
    17 Notices of Transfers
                            [Dkt. 2211, 2212, 2261, 2262, 2263, 2215, 2697, 2698].
    18
       July 6, 2021 Letter from Alvarez 8t Marsal CRF Management, LLC to Highland Crusader Funds
    Stakeholders.




                                                                                       Appx. 01868
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                       ii. The $23 million Acis claim” was sold t0 Farallon/Muck for
                           approximately $8 million;

                      iii. HarbourVest sold its combined approximately $80 million in
                           claims to Farallon/Muck for approximately $27 million; and

                      iv. UBS sold its combined approximately $125 million in claims
                          for approximately $50 million to both Stonehill/Iessup and
                          Farallon/Muck at a time when the total projected payout was
                          only approximately $35 million.

           19.     In Q3 2021, just over $6 million of the projected $205 million available to


    satisfy general unsecured claims was disbursed?" No additional distributions were made

    t0 general unsecured claimholders until, suddenly, in Q3 2022 almost $250 million was


    paid toward Class 8 general unsecured claims—$45 million more than was ever

    projected.“ According to HCM’s Motion for Exit Financing,” and a recent motion filed

    by Dugaboy Investment Trust,” there remain substantial assets to be monetized for the

    benefit of HCM’s creditors. Thus, upon information and belief, the funds managed by

    Stonehill and Farallon stand to realize significant profits on their Claims purchases. In

    turn, upon information and belief, Stonehill and Farallon will garner (or already have

    garnered) substantial fees    —   both base fees and performance fees      —   as the result of their


     acquiring and/0r managing the purchase of the Claims.




       Seery/HCM have argued that $10 million of the Acis claim is self-funding. Dkt. 1271, Transcript of
    19


    Hearing on Motions to Compromise Controversy with Acis Capital Management [1087] and the Redeemer
    Committee of the Highland Crusader Fund [1089], p. 197.
    2° Dkt. 3200.

    21
       Dkt. 3582.
    22 Dkt. 2229.

    23 Dkt. 3382.




                                                     10




                                                                                              Appx. 01869
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    D.         Material Information is Not Disclosed

               20.     Bankruptcy Rule 2015.3 requires debtors to ”file periodic financial reports

    of the value, operations, and profitability of each entity that is not a publicly traded


    corporation or a debtor in a case under title 11, and in which the estate holds a substantial

    or controlling interest.” No public reports required by Rule 2015.3 were filed. Seery


    testified they simply “fell through the cracks/’24

               21.     As part of the HarbourVest Settlement, Seery negotiated the purchase of

    HarbourVest’s interest in HCLOF for approximately $22.5 million as part of the

    transaction.” Approximately 19.1% of HCLOF’s assets were comprised of debt and

    equity in Metro-Goldwyn-Mayer Studios, Inc. (”MGM”). The HCLOF interest was not to

    be transferred to       HCM for distribution as part of the bankruptcy estate, but rather to ”to

     an entity to be designated by the Debtor”—i.e., one that was not subject to typical


    bankruptcy reporting requirements.26

               22.     Six days prior to the filing of the motion seeking approval of the

    HarbourVest Settlement, upon information and belief, it appears that Seery may have

     acquired material non-public information regarding Amazon’s now-consummated

    interest in acquiring         MGM,” yet there is            no record of Seery’s disclosure of such




    24
       Dkt.   1905, February 3, 2021 Hearing Transcript, 4925-21.
    25
       Dkt.   1625, p. 9, n. 5.
    26 Dkt.   1625.
    27 Dkt.   150-1.



                                                           11




                                                                                             Appx. 01870
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    information to the Court, HCM’s creditors, or otherwise. Upon the receipt of this material


    non-public information, I-HVIIT understands, upon information and belief, that MGM was

    supposed to be placed on HCM’s ”restricted list,” but Seery nonetheless continued to

    move forward with deals that involved         MGM assets.”

               23.    As HCM additionally held its      own direct interest in     MGM,”     the value of

    MGM was of paramount importance to the value of HCM’s bankruptcy estate. HMIT

    believes, upon information and belief, that Seery conveyed material non-public

    information regarding MGM to Stonehill and Farallon as inducement to purchase the

    Claims.

    E.         Seery’s Compensation

               24.    Upon information and belief, a component of Seery’s compensation is a

     ”success fee” that depends on the actual liquidation of HCM’s bankruptcy estate assets

    versus the Plan projections.      As current holders of the largest claims against the HCM

    estate, Muck and Iessup, the SPEs apparently created and controlled by Stonehill and

    Farallon, were installed as two of the three members of an Oversight Board in charge of

    monitoring the activities of HCM, as the Reorganized Debtor, and the Claimant Trust.”

    Thus, along with a single independent restructuring professional, Farallon and




    28 See Dkt. 1625, Debtor’s Motion for Entry of an Order Approving Settlement with HarbourVest (Claim
    Nos. 143, 147, 149, 150, 153, 154) and Authorizing Actions Consistent Therewith, filed December 23, 2020
    29 Motion for Exit
                       Financing.[Dkt.2229]
    30   Dkt. 2801.


                                                       12




                                                                                                Appx. 01871
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    Stonehill’s affiliates oversee Seery’s go-forward compensation, including any ”success”

    fee.“

                                         DISCOVERY REQUESTED

              25.        HMIT seeks to investigate whether Farallon and Stonehill received material

    non-public information in connection with, and as inducement for, the negotiation and

    sale of the claims to Parallon and Stonehill or its affiliated SPEs. Discovery is necessary to

    confirm or deny these allegations and expose potential abuses and unjust enrichment.

              26.        The requested discovery from Farallon is attached as Exhibit      ”A”,   and

    includes the deposition of one or more of its corporate representatives and the production

    of documents. The requested discovery from Stonehill is attached as Exhibit ”B”, and

    includes the deposition of Stonehill’s corporate representative(s) and the production of

     documents.

              27.        Pursuant to Rule 202.2(g), the requested discovery will include matters that

    will allow HMIT to evaluate and determine, among other things:

                    a.   The substance and types of information upon which Stonehill
                         and Farallon relied in making their respective decisions to
                         invest in or acquire the Claims;

                    b. Whether Farallon and Stonehill conducted due diligence, and
                       the substance of any due diligence when evaluating the
                         Claims;




    31   Claimant Trust Agreement [Dkt 1656-2].


                                                       13




                                                                                          Appx. 01872
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             .           The extent to which Farallon and Stonehill controlled the
                         SPEs, Muck and Jessup, in connection with the acquisition of
                         the Claims;

                 .       The creation and organizational structure of Farallon,
                         Stonehill, Muck, and Iessup, as well as the purpose of creating
                         Muck and Jessup as SPEs to hold the Claims;

             .
                         Any internal valuations of Muck or Iessup’s net asset value
                         (NAV);

                         Any external valuation   or audits of the   NAV   attributable to
                         the Claims;

              .
                         Any documents reﬂecting expected profits from the purchase
                         of the Claims;

                 .       All communications between Farallon     and Seery concerning
                         the value and purchase of the Claims;

                         All communications between Stonehill and Seery concerning
                         the value and purchase of the Claims;

                         All documents reﬂecting the expected payout on      the Claims;

              .          All communications between Farallon      or Stonehill and
                         HarbourVest concerning the purchase of the Claims;

                         All communications between Farallon     or Stonehill and    Acis
                         regarding the purchase of the Claims;

                     .   All communications between Farallon     or Stonehill and UBS
                         regarding the purchase of the Claims;

                 .       All communications between Farallon         or Stonehill and The
                         Redeemer Committee regarding the purchase of the Claims;

              .          All communications between Farallon and Stonehill
                         regarding the purchase of the Claims;



                                                       14




                                                                                             Appx. 01873
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                p.   All communications between Farallon and Stonehill        and
                     investors in their respective funds regarding purchase of the
                     Claims or valuation of the Claims;


                q.   All communications between Seery and Stonehill or Farallon
                     regarding Seery’s compensation as the Trustee of the
                     Claimant Trust;

                r.   All documents relating   to, regarding, or reﬂecting any
                     agreements  between  Seery and the Oversight Committee
                     regarding compensation;

                s.   All documents reﬂecting the base fees   and performance fees
                     which Stonehill has received or may receive in connection
                     with management of the Claims;

                t.   All documents reﬂecting the base fees
                                                        and performance fees
                     which Farallon has received or may receive in connection
                     with management of the Claims;

                u.   All monies received by and distributed by Muck in
                     connection with the Claims;

                V.   All monies received by        and distributed by Iessup in
                     connection with the Claims;

                w.   All documents reﬂecting whether Farallon is a co-investor in
                     any fund which holds an interest in Muck; and

                x.   All documents reﬂecting whether Stonehill is a co-investor in
                     any fund which holds an interest in Jessup.
                               BENEFIT OUTWEIGHS THE BURDEN
          28.        The beneficial value of the requested discovery greatly outweighs any

    conceivable burden that could be placed on the Respondents. The requested information




                                                    15




                                                                                     Appx. 01874
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     also should be readily available because the Respondents have been engaged in the


    bankruptcy proceedings relating to the matters at issue for several years.

            29.   The important benefit associated with this requested discovery is also clear

    —   it is reasonably calculated to determine whether the Respondents have unjustly

    garnered tens of millions of dollars of benefit based upon insider information. If this

    occurred, the monies received as a result of such conduct are properly subject to a

    constructive trust and disgorged. This would result in substantial funds available for

    other creditors, including those creditors in Class 10, which includes HMIT as a


    beneficiary. This significant benefit, in addition to the value of bringing proper light to

    the activities of Farallon and Stonehill as discussed in this petition, far outweighs any


    purported burden associated with requiring Respondents to sit for focused depositions

    concerning the topics and documents identified in Exhibits A and B.

                           REQUEST FOR HEARING AND ORDER

            30.   After service of this Petition and notice, Rule 202.3(a) requires the Court to

    hold a hearing on this Petition.

                                       PRAYER FOR RELIEF

            31.   Petitioner Hunter Mountain Investment Trust respectfully requests that the

    Court issue an order pursuant to Texas Rule of Civil Procedure 202 authorizing HMIT to

    take a deposition of designated representatives of Farallon Capital Management,        LLC

     and Stonehill Capital Management, LLC. HMIT additionally requests authorization to



                                                 16




                                                                                     Appx. 01875
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    issue subpoenas duces tecum compelling the production of documents in connection

    with the depositions in compliance with Tex. R. Civ. P. 205, and asks that the Court grant

    HMIT all such other and further relief to which it may be justly entitled.

                                                     Respectfully Submitted,

                                                     PARSONS MCENTIRE MCCLEARY
                                                     PLLC

                                                     By: /s/ Sawm’e A. McEntire
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                                                         Attorneys for Petitioner Hunter
                                                         Mountain Investment Trust




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                                                                                     Appx. 01876
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                                        VE IFI A ON

    STATE OF TEXAS

    COUNTY OF DALLAS

    Before me, the undersigned notary, on this day personally appeared Mark Patrick, the
    affiant, whose idenﬁty is known to me. After I administered an oath, affiant testiﬁed as
    follows:


           "My name is Mark Patrick. I am             the Administrator of Hunter Mountain
           Investment Trust, and I am authorized and capable of making this veriﬁcation. I
           have read Petitioner Hunter Mountain Investment Trust’s Veriﬁed Rule 202
           Petition ("Petition"). The facts as stated in the Petition are true and correct based
           on my personal knowledge and review of relevant documents in the proceedings
           styled In re Highland Capital Management, L.P., Case No. 19-34054, in the United


                                                                  M
           States Bankruptcy Court in the Northern District                  Il"=18 Division ."



                                                                 Off?
                                              Mark Patrick



     Sworn to and subscribed before me by Mark Pa . '2 11 January LQ, 2023.

                                                       A]
                                                        "’"  v
                                                                 '              41‘
                                                                                          DEBORAH COLE
                                                                                                     9155
                                              Notary Public in and for
                                                                                    ,        ID an
                                                                                .7."w   xtary      331””;
                                              the State of Texas                         November 23. 2026




     31164241




                                                 18




                                                                                        Appx. 01877
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                                             EXHIBIT ”A”

                                    CAUSE NO.

     IN RE:                                         §            IN THE DISTRICT COURT
                                                    §
     HUNTER MOUNTAIN                                §
     INVESTMENT TRUST                               §               th JUDICIAL    DISRICT
                                                    §
              Petitioner,                           §
                                                    §            DALLAS COUNTY, TEXAS

          NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

    TO:    Farallon Capital Management, LLC, by and through its attorney of record



            PLEASE TAKE NOTICE that, pursuant t0 Tex. R. CiV.            P. 199, 202, and 205,


    Petitioner Hunter Mountain Investment Trust (”HMIT”) will take the deposition on oral

    examination under oath of Farallon Capital Management,               LLC (”Farallon”)   on


                  ,   2023 at   _    _.m. before a notary public or other person authorized to

     administer a proper oath and will be recorded by stenographic means. 'Ihe deposition

    will take place at                       before a court reporter and Videographer and will

    continue from day to day until completed. The deposition may also be recorded by non-


    stenographic (Videotape) means.

            Please take further notice that, pursuant to Tex. R. Civ. P. 199.2(b), Farallon is


    requested to designate one or more person(s) most knowledgeable and prepared to testify

    on behalf of Farallon concerning the topics identified on Exhibit   ”1”, and to produce the

     documents described in Exhibit ”2”, attached hereto.




                                                                                     Appx. 01878
Case 3:21-cv-00881-X Document 138-72 Filed 07/14/23               Page 21 of 44 PageID 10460




                                             Respectfully submitted,


                                             Sawnie A. McEntire
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                                             Ian B. Salzer
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                                             rmccleary@pmmlaw.com
                                             One Riverway, Suite 1800
                                             Houston, Texas 77056
                                             Telephone: (713) 960-7315
                                             Facsimile: (713) 960-7347


                                             Attorneys for Petitioner Hunter Mountain
                                             Investment Trust




                                 CERTIFICATE OF SERVICE

           I hereby certify that, on January _, 2023, a true and correct copy of the foregoing
    document was served on all known counsel of record in accordance With the Texas Rules
    of Civil Procedure.



                                             Sawnie A. McEntire




                                                                                   Appx. 01879
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                                   EXHIBIT ”A”
          TO NOTICE OF DEPOSITION OF FARALLON CAPITAL MANAGEMENT, LLC

            For purposes of the attached Exhibits ”1” and ”2”, the following rules and
     definitions shall apply.

                                  RULES OF CONSTRUCTION

     1.      The terms ”all” and ”each” shall be construed as all and each.

    2.       The terms ”all” and ”any” shall be construed as all and any.

    3.       The connectives ”and” and ”or” shall be construed either disjunctively or
             conjunctively as necessary to bring within the scope of the discovery request all
             responses that might otherwise be construed to be outside of its scope.

    4.       The use of the singular form of any word includes the plural and vice versa.

                                          DEFINITIONS
           The terms used herein shall have the following meanings unless the context
    requires otherwise:

         Acis. The term ”Acis” refers to Acis Capital Management, L.P. and Acis Capital
    Management GP LLC, collectively.

           Any and all. The terms “any” and ”all” should be understood in either the most or
    the least inclusive sense as necessary to bring within the scope of the discovery request
    all responses that might otherwise be construed to be outside its scope. ”Any” includes
    the word ”all,” and ”all” includes the term ”any.”

          Bankruptcy Case. The term ”Bankruptcy Case” shall mean the Chapter 11
    Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
    United States Bankruptcy Court for the Northern District of Texas.

           Claims. The term ”Claims” shall mean the claims against Highland’s Estate
    transferred to/acquired by Muck and/or Iessup as evidenced by Bankruptcy Case Dkt.
    Nos. 2215, 2261, 2262, 2263, 2697, 2698.

          Communication. The term ”communication” means any manner in which the
    mental processes of one individual are related to another, including without limitation,
    any verbal utterance, correspondence, email, text message, statement, transmission of
    information by computer or other device, letters, telegrams, telexes, cables, telephone




                                                                                     Appx. 01880
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    conversations, and records or notations made in connection therewith, notes,
    memoranda, sound recordings, electronic data storage devices, and any other reported,
    recorded or graphic rnatter or document relating to any exchange of information.

           Concerning. The term ”concerning” means reﬂecting, regarding, relating to,
    referring to, describing, evidencing, or constituting.

           Document 0r documents. The terms ”document” or ”documents” shall mean
     anything that may be considered to be a document or tangible thing Within the meaning
    of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
    Electronically Stored Information and the originals and all copies of any correspondence,
    memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
    versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
    books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
    studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
    publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
    compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
    models, contracts, illustrations, tabulations, records (including tape recordings and
    transcriptions thereof) of meetings, conferences and telephone or other conversations or
    communications, financial statements, photostats, e-mails, microfilm, microfiche, data
    sheets, data processing cards, computer tapes or printouts, disks, word processing or
    computer diskettes, computer software, source and object codes, computer programs and
    other writings, or recorded, transcribed, punched, taped and other written, printed,
    recorded, digital, or graphic matters and/or electronic data of any kind however
    produced or reproduced and maintained, prepared, received, or transmitted, including
    any reproductions or copies of documents which are not identical duplicates of the
    original and any reproduction or copies of documents of which the originals are not in
    your possession, custody or control.
                                                                                                      I
             Electronically Stored Information or ESI. The terms ”Electronically Stored Information’
     0r ”ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
     other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
    format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
     such Documents/E81

            Estate. The term ”Estate” means     HCM’s bankruptcy estate.
                                                             II ll
            Farallon, you, and your. The terms ”Farallon,          you,” and ”your” shall mean
    Farallon Capital Management, LLC and its corporate parent, subsidiaries, or affiliates and
    entities it manages or operates, including, but not limited to, Muck Holdings, LLC. These
    terms also include any owners, partners, shareholders, agents, employees,




                                                                                           Appx. 01881
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    representatives, attorneys, predecessors, successors, assigns, related entities, parent
    companies, subsidiaries, and/or entities in which Farallon is a general partner or owns an
    entities’ general partner, or anyone else acting on Farallon’s behalf, now or at any time
    relevant to the response.

           Grosvenor. The term ”Grosvenor” refers to Grosvenor Capital Management, L.P.

           HarbourVest. The term ”HarbourVest” refers to HarbourVest 2017 Global Fund
    L.P., HarbourVest   2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
    HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
    Partners L.P., collectively.

           HCM. The term ”HCM” refers to debtor Highland Capital Management, L.P.

           jessup. The term ”Iessup” refers to Iessup Holdings,   LLC.

           MGM. The term ”MGM” refers to Metro-Goldwyn—Mayer Studios, Inc.

           Muck. The term ”Muck” shall refer to Muck Holdings, LLC.

           NAV. The term ”NAV” means net asset value.

            Oversight Board. The term ”Oversight Board” refers to the Claimant Trust
    Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
    identified in Bankruptcy Case Dkt. No. 2801.

          Person. The term ”person” is defined as any natural person or any business, legal,
    or governmental entity or association.

          Plan. The term ”Plan” refers to the Fifth Amended Plan of Reorganization of
    Highland Capital Management, L.P. (as Modified).

           Redeemer.   The term ”Redeemer” means the Redeemer Committee of the Highland
    Crusader Funds.

           Seery. The term ”Seery” refers to James P.   (”Jim”) Seery.

           Settling Parties. The term ”Settling Parties” refers to Redeemer, Acis, HarbourVest,
     and UBS, collectively.

           Stonehill. The term ”Stonehill” refers to Stonehill Capital Management,   LLC.

           Strand. The term ”Strand” refers to Strand Advisors, Inc.




                                                                                     Appx. 01882
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           LIBS. The term ”UBS” refers to UBS Securities   LLC   and UBS   AG London Branch,
    collectively.




                                                                                   Appx. 01883
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                                           EXHIBIT ”1”

                                      TOPIC CATEGORIES

            The witness(es) designated by Farallon to testify on its behalf is (are) requested to
    testify concerning the following Topic Categories:

           a.   The substance, types, and sources of information Farallon
                considered in making any decision to invest in any of the Claims
                on behalf of itself, Muck, and/or any fund with which Farallon is
                connected;

           b. Whether Farallon conducted due diligence, and the substance
                and identification of any due diligence (including associated
                documents), when evaluating any of the Claims;

           c.   Any and all communications with James Dondero;

           d. The extent to which Farallon was involved in creating and
              organizing Muck in connection with the acquisition of any of the
                Claims;

           e.   The organizational structure of Muck (including identification of
                all members, managing members), as well as the purpose for
                creating Muck, including, but not limited to, regarding holding
                title to any of the Claims;

           f.   Any internal valuations of Muck’s Net Asset Value (NAV), as
                well as all assets owned by Muck;

           g.   Any external valuation or audits of the NAV attributable    to any
                of the Claims;

           h.   Any documents reﬂecting profit forecasts relating    to any of the
                Claims;

           i.   All communications between Farallon and Seery relating to any
                of the Claims;




                                                                                      Appx. 01884
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                       All forecasted payout(s) on any of the Claims and all documents
                       including or reﬂecting the same;

               .       All communications between Farallon      and any of the Settling
                       Parties concerning any of the Claims;


                       Any negotiations between Farallon and any of the Settling Parties
                       concerning any of the Claims;

                   .   All communications between Farallon and Stonehill regarding
                       any of the Claims;

               .       All communications between Farallon and any investors in any
                       fund managed by Farallon regarding any of the Claims or
                       valuation of the Claims;

               .       All communications between Seery and Farallon regarding
                       Seery’s compensation as Trustee of the Claimant Trust;

               .       All agreements and other communications between Seery and
                       the Oversight Committee regarding Seery’s compensation and
                       all documents relating to, regarding, or reﬂecting such
                       agreements and other communications;

               .       All base  fees and performance fees which Farallon has received
                       or may receive in connection with the Claims and all documents
                       relating to, regarding, or reﬂecting the same;

           .           All monies received by Muck in connection with any   of the
                       Claims and any distributions made by Muck to any members of
                       Muck relating to such Claims;

           .           Whether Farallon is a co-investor in any fund which holds an
                       interest in Muck or otherwise holds a direct interest in Muck and
                       all documents reﬂecting the same;

                       All communications between Farallon and any of the following
                       entities concerning any of the Claims:

                             i.   UCC;




                                                                                           Appx. 01885
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                    ii.   Highland;
                   iii.   Grosvenor;
                   iv.    Muck;
                    V.    the Oversight Board.
          u. The sources of funds used    by Muck for the acquisition of any of
               the Claims;

          v.   The terms and conditions of any agreements governing the
               transfers of any of the Claims to Muck;

          W. Representations made      by Farallon, Muck, Seery, and/or the
               Settling Parties in connection with the transfer of any of the
               Claims;

          X.   Farallon’s valuation or evaluation of HCM’s Estate;

          y. Information learned regarding MGM during the pendency of the
             negotiations relating to the Claims;

          z.   The appointment of Muck to the Oversight Board;

          aa. Farallon’s historical relationships and business dealings   with
               Seery and Grovesnor;

          bb. Representations made to the bankruptcy court in connection with
              the transfer of any of the Claims to Muck.




                                                                                  Appx. 01886
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                                             EXHIBIT ”2”

                                      DOCUMENT REQUESTS

       1.   Any and all documents created by, prepared for,              or received by Farallon
            concerning any of the following topics:
               a.   the transfer of the Claims;

               b. negotiation and/or consummation of any agreement regarding the transfer
                  of the Claims;
               c.   valuation of the Claims or the assets underlying the Claims;
               d. promises and representations made in connection With the transfer of the
                    Claims;
               e.   any due diligence undertaken by Farallon or Muck prior to acquiring the
                    Claims;
               f.   consideration for the transfer of the Claims;

               g. the value of HCM’s Estate;
               h. the projected future value of HCM’s Estate;

               i.   past distributions and projected distributions from HCM’s Estate;
               j.   compensation earned by or paid to Seery in connection with or relating to
                    the Claims;
               k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
                  Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
                  and/or Independent Director of Strand; and
               l.   any future compensation to be paid to Seery as Trustee of the Highland
                    Claimant Trust.
       2.   Any and all communications between Farallon,            on the one hand, and any of the
            following individuals    or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
            (iv) Stonehill, (vi) Grosvenor, or, (vii) the Oversight Board, concerning any of the
            following topics:
               a.   the transfer of the Claims;
               b. negotiation and/or consummation of any agreement regarding the transfer
                  of the Claims;
               c.   valuation of the Claims or the assets underlying the Claims;




                                                    10



                                                                                          Appx. 01887
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                d. promises and representations made in connection with the transfer of the
                     Claims;
                e.   any due diligence undertaken by Farallon or Muck prior to acquiring the
                     Claims;
                f.   consideration for the transfer of the Claims;

                g. the value of HCM’s Estate;
                h. the projected future value of HCM’S Estate;

                i.   past distributions and projected distributions from HCM’s Estate;
                j.   compensation earned by or paid to Seery in connection with or relating to
                     the Claims;

                k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
                   Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
                   and/or Independent Director of Strand; and
                l.   any future compensation to be paid to Seery as Trustee of the Highland
                     Claimant Trust.
        .    All correspondence and/or other documents by or between Farallon and/or Muck
             and any investors in any fund regarding the Claims and/or the acquisition or
             transfer of the Claims.
        .
             Any and all documents reﬂecting the sources of funding used by Muck to acquire
             any of the Claims.
        .
             Organizational and formation documents relating to Muck including, but not
             limited to, Muck’s certificate of formation, company agreement, bylaws, and the
             identification of all members and managing members.
        .
             Company resolutions prepared by or on behalf of Muck approving the acquisition
             of any of the Claims.
        .
             Any and all documents reﬂecting any internal or external audits regarding Muck’s
             NAV.
        .
             Agreements between Farallon and Muck regarding management, advisory, or
             other services provided to Muck by Farallon.
        .
             Any and all documents reviewed by Farallon        as part of its evaluation and due
             diligence regarding any of the Claims.
       10.   Any documents reﬂecting any communications with James Dondero;
       11.   Annual fund audits relating to Muck.



                                                   11



                                                                                      Appx. 01888
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       12.    Muck’s NAV Statements.
       13. Documents reﬂecting the fees 0r other compensation earned              by Farallon in
              connection with the investment in, acquisition of, transfer of, and/or management
              of any of the Claims.




    3116467




                                                  12



                                                                                     Appx. 01889
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                                             EXHIBIT ”B”

                                    CAUSE NO.

     IN RE:                                         §            IN THE DISTRICT COURT
                                                    §
     HUNTER MOUNTAIN                                §
     INVESTMENT TRUST                               §               th JUDICIAL    DISRICT
                                                    §
              Petitioner,                           §
                                                    §            DALLAS COUNTY, TEXAS

          NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

    TO:     Stonehill Capital Management, LLC, by and through its attorney of record



            PLEASE TAKE NOTICE that, pursuant to Tex. R. CiV.             P. 199, 202, and 205,


    Petitioner Hunter Mountain Investment Trust (”HMIT”) will take the deposition on oral

    examination under oath of Stonehill Capital Management,              LLC (”Stonehill”)   on


                  ,   2023 at   _    _.m. before a notary public or other person authorized to

     administer a proper oath and will be recorded by stenographic means. The deposition

    will take place at                       before a court reporter and Videographer and will

    continue from day to day until completed. The deposition may also be recorded by non-


    stenographic (Videotape) means.

            Please take further notice that, pursuant to Tex. R. CiV. P. 199.2(b), Stonehill is


    requested to designate one or more person(s) most knowledgeable and prepared to testify

    on behalf of Stonehill concerning the topics identified on Exhibit   ”1”, and to produce the

     documents described in Exhibit ”2”, attached hereto.




                                                                                      Appx. 01890
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                                             Respectfully submitted,


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                                             Dallas, Texas 75201
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                                             Facsimile: (214) 237-4340


                                             Roger L. McCleary
                                             State Bar N0. 13393700
                                             rmccleary@pmmlaw.com
                                             One Riverway, Suite 1800
                                             Houston, Texas 77056
                                             Telephone: (713) 960-7315
                                             Facsimile: (713) 960-7347


                                             Attorneys for Petitioner Hunter Mountain
                                             Investment Trust




                                 CERTIFICATE OF SERVICE

           I hereby certify that, on January _, 2023, a true and correct copy of the foregoing
    document was served on all known counsel of record in accordance With the Texas Rules
    of Civil Procedure.



                                             Sawnie A. McEntire




                                                                                   Appx. 01891
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                                    EXHIBIT ”A”
          TO NOTICE OF DEPOSITION OF STONEHILL CAPITAL MANAGEMENT, LLC

            For purposes of the attached Exhibits ”1” and ”2”, the following rules and
     definitions shall apply.

                                  RULES OF CONSTRUCTION

     1.      The terms ”all” and ”each” shall be construed as all and each.

    2.       The terms ”all” and ”any” shall be construed as all and any.

    3.       The connectives ”and” and ”or” shall be construed either disjunctively or
             conjunctively as necessary to bring within the scope of the discovery request all
             responses that might otherwise be construed to be outside of its scope.

    4.       The use of the singular form of any word includes the plural and vice versa.

                                          DEFINITIONS
           The terms used herein shall have the following meanings unless the context
    requires otherwise:

         Acis. The term ”Acis” refers to Acis Capital Management, L.P. and Acis Capital
    Management GP LLC, collectively.

           Any and all. The terms “any” and ”all” should be understood in either the most or
    the least inclusive sense as necessary to bring within the scope of the discovery request
    all responses that might otherwise be construed to be outside its scope. ”Any” includes
    the word ”all,” and ”all” includes the term ”any.”

          Bankruptcy Case. The term ”Bankruptcy Case” shall mean the Chapter 11
    Bankruptcy of Debtor Highland Capital Management, L.P., Case No. 19-34054 in the
    United States Bankruptcy Court for the Northern District of Texas.

           Claims. The term ”Claims” shall mean the claims against Highland’s Estate
    transferred to/acquired by Muck and/or Iessup as evidenced by Bankruptcy Case Dkt.
    Nos. 2215, 2261, 2262, 2263, 2697, 2698.

          Communication. The term ”communication” means any manner in which the
    mental processes of one individual are related to another, including without limitation,
    any verbal utterance, correspondence, email, text message, statement, transmission of
    information by computer or other device, letters, telegrams, telexes, cables, telephone




                                                                                     Appx. 01892
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    conversations, and records or notations made in connection therewith, notes,
    memoranda, sound recordings, electronic data storage devices, and any other reported,
    recorded or graphic rnatter or document relating to any exchange of information.

           Concerning. The term ”concerning” means reﬂecting, regarding, relating to,
    referring to, describing, evidencing, or constituting.

           Document 0r documents. The terms ”document” or ”documents” shall mean
     anything that may be considered to be a document or tangible thing Within the meaning
    of the TEXAS RULES OF CIVIL PROCEDURE, including (without limitation)
    Electronically Stored Information and the originals and all copies of any correspondence,
    memoranda, handwritten or other notes, letters, files, records, papers, drafts and prior
    versions, diaries, calendars, telephone or other message slips, invoices, files, statements,
    books, ledgers, journals, work sheets, inventories, accounts, calculations, computations,
    studies, reports, indices, summaries, facsimiles, telegrams, telecopied matter,
    publications, pamphlets, brochures, periodicals, sound recordings, surveys, statistical
    compilations, work papers, photographs, videos, videotapes, drawings, charts, graphs,
    models, contracts, illustrations, tabulations, records (including tape recordings and
    transcriptions thereof) of meetings, conferences and telephone or other conversations or
    communications, financial statements, photostats, e-mails, microfilm, microfiche, data
    sheets, data processing cards, computer tapes or printouts, disks, word processing or
    computer diskettes, computer software, source and object codes, computer programs and
    other writings, or recorded, transcribed, punched, taped and other written, printed,
    recorded, digital, or graphic matters and/or electronic data of any kind however
    produced or reproduced and maintained, prepared, received, or transmitted, including
    any reproductions or copies of documents which are not identical duplicates of the
    original and any reproduction or copies of documents of which the originals are not in
    your possession, custody or control.
                                                                                                     ”
             Electronically Stored Information or ESI. The terms ”Electronically Stored Information
     0r ”ESI” shall mean and include all documents, notes, photographs, images, digital, analog or
     other information stored in an electronic medium. Please produce all Documents/ESI in .TIF
    format (OCR text, single page). Please also provide a Summation Pro Load File (.dii) respect to all
     such Documents/E81

            Estate. The term ”Estate” means     HCM’s bankruptcy estate.

            Farallon. The term ”Farallon,” refers to Farallon Capital Management,         LLC and its
    corporate parent, subsidiaries, or affiliates and entities it manages 0r operates, including,
    but not limited to, Muck Holdings, LLC. These terms also include any owners, partners,
    shareholders, agents, employees, representatives, attorneys, predecessors, successors,




                                                                                           Appx. 01893
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    assigns, related entities, parent companies, subsidiaries, and/or entities in which Farallon
    is a general partner or owns an entities’ general partner, or anyone else acting on
    Farallon’s behalf, now or at any time relevant to the response.

           Grosvenor. The term ”Grosvenor” refers to Grosvenor Capital Management, L.P.

           HarbourVest. The term ”HarbourVest” refers to HarbourVest 2017 Global Fund
    L.P., HarbourVest 2017 Global AIF L.P., HarbourVest Dover Street IX Investment L.P.,
    HV International VIII Secondary L.P., HarbourVest Skew Base AIF L.P., and HarbourVest
    Partners L.P., collectively.

           H CM. The term ”HCM” refers to debtor Highland Capital Management, L.P.

           Iessup. The term ”]essup” refers to Iessup Holdings,   LLC.

           MGM. The term ”MGM” refers to Metro-Goldwyn—Mayer Studios, Inc.

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           NAV. The term ”NAV” means net asset value.

            Oversight Board. The term ”Oversight Board” refers to the Claimant Trust
    Oversight Committee (a/k/a the Oversight Board of the Highland Claimant Trust) as
    identified in Bankruptcy Case Dkt. No. 2801.

          Person. The term “person” is defined as any natural person or any business, legal,
    or governmental entity or association.

          Plan. The term ”Plan” refers to the Fifth Amended Plan of Reorganization of
    Highland Capital Management, LP. (as Modified).

           Redeemer.        The term ”Redeemer” means the Redeemer Committee of the Highland
    Crusader Funds.

           Seery. The term ”Seery” refers to James P.   (“Jim”) Seery.

           Settling Parties. The term ”Settling Parties” refers to Redeemer, Acis, HarbourVest,
     and UBS, collectively.

                        ”              ”
           Stonehill, ”you,” and ”your. The terms ”Stonehill”, ”you,” and ”your” shall mean
    Stonehill Capital Management, LLC and its corporate parent, subsidiaries, or affiliates
    and entities it manages or operates, including, but not limited to Jessup Holdings, LLC.
    These terms also include any owners, partners, shareholders, agents, employees,




                                                                                     Appx. 01894
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    representatives, attorneys, predecessors, successors, assigns, related entities, parent
    companies, subsidiaries, and/or entities in which Stonehill is a general partner or owns
    an entities’ general partner, or anyone else acting on Stonehill’s behalf, now or at any time
    relevant to the response .

           Strand. The term ”Strand” refers to Strand Advisors, Inc.

           LIBS. The term ”UBS” refers to UBS Securities    LLC   and UBS   AG London Branch,
    collectively.




                                                                                      Appx. 01895
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                                           EXHIBIT ”1”

                                      TOPIC CATEGORIES

            The witness(es) designated by Stonehill to testify on its behalf is (are) requested to
    testify concerning the following Topic Categories:

           a.   The substance, types, and sources of information Stonehill
                considered in making any decision to invest in any of the Claims
                on behalf of itself, Jessup, and/or any fund with which Stonehill
                is connected;

           b. Whether Stonehill conducted due diligence, and the substance
                and identification of any due diligence (including associated
                documents), when evaluating any of the Claims;

           c.   Any and all communications with James Dondero;

           d. The extent to which Stonehill was involved in creating and
              organizing Jessup in connection with the acquisition of any of the
                Claims;

           e.   The organizational structure of Iessup (including identification
                of all members, managing members), as well as the purpose for
                creating Iessup, including, but not limited to, regarding holding
                title to any of the Claims;

           f.   Any internal valuations of Jessup’s Net Asset Value (NAV),     as
                well as all assets owned by Iessup;

           g.   Any external valuation or audits of the NAV attributable    to any
                of the Claims;

           h.   Any documents reﬂecting profit forecasts relating    to any of the
                Claims;

           i.   All communications between Stonehill and Seery relating to any
                of the Claims;




                                                                                       Appx. 01896
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                       All forecasted payout(s) on any of the Claims and all documents
                       including or reﬂecting the same;

               .       All communications between Stonehill and any of      the Settling
                       Parties concerning any of the Claims;


                       Any negotiations between Stonehill and any of the Settling
                       Parties concerning any of the Claims;

                   .   All communications between Stonehill and Farallon regarding
                       any of the Claims;

               .       All communications between Stonehill and any investors in any
                       fund managed by Stonehill regarding any of the Claims or
                       valuation of the Claims;

               .       All communications between Seery and Stonehill regarding
                       Seery’s compensation as Trustee of the Claimant Trust;

               .       All agreements and other communications between Seery and
                       the Oversight Committee regarding Seery’s compensation and
                       all documents relating to, regarding, or reﬂecting such
                       agreements and other communications;

               .       All base fees and performance fees which Stonehill has received
                       or may receive   in connection with the Claims and all documents
                       relating to, regarding, or reﬂecting the same;

           .           All monies received by Iessup in connection with any of  the
                       Claims and any distributions made by Jessup to any members of
                       Jessup relating to such Claims;

           .           Whether Stonehill is a co-investor in any fund which holds an
                       interest in Jessup or otherwise holds a direct interest in Iessup
                       and all documents reﬂecting the same;

                       All communications between Stonehill and any of the following
                       entities concerning any of the Claims:

                             i.   UCC;




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                    ii.   Highland;
                   iii.   Grosvenor;
                   iv.    Jessup;
                    V.    the Oversight Board.
          u. The sources of funds used   by Jessup for the acquisition of any of
               the Claims;

          v.   The terms and conditions of any agreements governing the
               transfers of any of the Claims to Iessup;

          W. Representations made     by Stonehill, Jessup, Seery, and/or the
               Settling Parties in connection with the transfer of any of the
               Claims;

          X.   Stonehill’s valuation or evaluation of HCM’s Estate;

          y. Information learned regarding MGM during the pendency of the
             negotiations relating to the Claims;

          z.   The appointment of Iessup to the Oversight Board;

          aa. Stonehill’s historical relationships and business dealings   with
               Seery and Grovesnor;

          bb. Representations made to the bankruptcy court in connection with
              the transfer of any of the Claims to Iessup.




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                                             EXHIBIT ”2”

                                      DOCUMENT REQUESTS

       1.   Any and all documents created by, prepared for,             or received by Stonehill
            concerning any of the following topics:
               a.   the transfer of the Claims;

               b. negotiation and/or consummation of any agreement regarding the transfer
                  of the Claims;
               c.   valuation of the Claims or the assets underlying the Claims;
               d. promises and representations made in connection With the transfer of the
                    Claims;
               e.   any due diligence undertaken by Stonehill or Jessup prior to acquiring the
                    Claims;
               f.   consideration for the transfer of the Claims;

               g. the value of HCM’s Estate;
               h. the projected future value of HCM’s Estate;

               i.   past distributions and projected distributions from HCM’s Estate;
               j.   compensation earned by or paid to Seery in connection with or relating to
                    the Claims;
               k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
                  Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
                  and/or Independent Director of Strand; and
               l.   any future compensation to be paid to Seery as Trustee of the Highland
                    Claimant Trust.
       2.   Any and all communications between Stonehill,          on the one hand, and any of the
            following   individuals or entities: (i) Seery, (ii) the UCC, (iii) the Settling Parties,
            (iv) Farallon, (vi) Grosvenor, or, (Vii) the Oversight Board, concerning any of the
            following topics:
               a.   the transfer of the Claims;
               b. negotiation and/or consummation of any agreement regarding the transfer
                  of the Claims;
               c.   valuation of the Claims or the assets underlying the Claims;




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                d. promises and representations made in connection with the transfer of the
                     Claims;
                e.   any due diligence undertaken by Stonehill or Iessup prior to acquiring the
                     Claims;
                f.   consideration for the transfer of the Claims;

                g. the value of HCM’s Estate;
                h. the projected future value of HCM’S Estate;

                i.   past distributions and projected distributions from HCM’s Estate;
                j.   compensation earned by or paid to Seery in connection with or relating to
                     the Claims;

                k. compensation earned by or paid to Seery for his roles as CEO, CRO, and
                   Foreign Representative of HCM, Trustee of the Highland Claimant Trust,
                   and/or Independent Director of Strand; and
                l.   any future compensation to be paid to Seery as Trustee of the Highland
                     Claimant Trust.
        .    All correspondence and/or other documents by or between Stonehill and/or Iessup
             and any investors in any fund regarding the Claims and/or the acquisition or
             transfer of the Claims.
        .
             Any and all documents reﬂecting the sources of funding used by Jessup to acquire
             any of the Claims.
        .
             Organizational and formation documents relating to Jessup including, but not
             limited to, Jessup’s certificate of formation, company agreement, bylaws, and the
             identification of all members and managing members.
        .
             Company resolutions prepared by or on behalf of Iessup approving the acquisition
             of any of the Claims.
        .
             Any and all documents reﬂecting any internal            or external audits regarding
             Jessup’s NAV.
        .
             Agreements between Stonehill and Jessup regarding management, advisory, or
             other services provided to Jessup by Stonehill.
        .
             Any and all documents reviewed by Stonehill       as part of its evaluation and due
             diligence regarding any of the Claims.
       10.   Any documents reﬂecting any communications with James Dondero;
       11.   Annual fund audits relating to Jessup.



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       12.    Jessup’s NAV Statements.
       13. Documents reﬂecting the fees or other compensation earned              by Stonehill in
              connection with the investment in, acquisition of, transfer of, and/or management
              of any of the Claims.




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 Timothy Miller on behalf of Timothy Miller
 Bar No. 24092839
 tmiller@pmmlaw.com
 Envelope ID: 72005122
 Status as of 1/25/2023 10:01 AM CST

 Case Contacts

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